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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
vs                                                 Case No. 1:19-cr-117
                                                   Hon. Robert J. Jonker
LARRY CHARLES INMAN,                               Hon. Phillip J. Green

            Defendant.
___________________________________________________________/

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              RESPONSE RE: GOVERNMENT’S MOTION IN LIMINE TO ADMIT
                        SUMMARY CHARTS OF TEXT MESSAGES
       Now comes Defendant Larry Charles Inman by and through his attorneys of record,

NEUMANN LAW GROUP, and in response to the Government’s Admit Summary Charts of Text

Messages states as follows:

       Defendant Larry Charles Inman does not have an objection to the use of some easier to

read format for admitting certain text messages to make them more legible for the jury.

However, it is difficult to stipulate or agree to the Government’s proposed format without

some foundation from the Government’s expert witness who extracted the information from
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the defendant’s phone and prepared the “Extraction Report” that is the basis for the

summaries. For example, the printout for the Extraction Report contains additional information

that is not contained in the summary charts proposed by the Government. An example is

below:




There is information in the forensic report such as “Sent” and “Read” for each message. What

does this mean in the context of the message being read by the intended recipient? There is a

notation called “Intact”. What does this mean? How is it relevant to the transmission or

receipt of the message. The time for the transmission is in “UTC” time. What is the conversion

of this time into Eastern time?

          For the text message to be a “quid” for a “pro quo” it would have to be read by the

recipient. Further, it is the position of the defendant that the message must be read prior to

the vote being taken on the house floor. Since the “quid” must have a direct relation to the

“pro quo” if it is received after the vote is taken, it cannot be logically connected to the official

action.

          Finally, the defendant objects to general text messages that address issues of requests

for legal campaign contributions or that generally discuss fund raising, ie: invitations to fund

raising events where a request is made to “bring a check” or “bring checks”. Fundraising is a
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necessary and legal part of our political process. To allow any test message into evidence that

does not request a specific campaign contribution for a specific official act, ie: a specific vote,

would infringe on the defendants First Amendment rights to cast his vote as he chooses (Please

see defendant’s Trial Brief filed contemporaneously with this response.



November 10, 2019

                                            Respectfully,




                                            Christopher K. Cooke (P35034)
                                            NEUMANN LAW GROUP
